            Case 19-30240                Doc 12         Filed 04/01/19 Entered 04/01/19 06:20:30                               Desc Ch 13
                                                            First Mtg Page 1 of 3
Information to identify the case:
Debtor 1                 Elizabeth Cordero                                                    Social Security number or ITIN   xxx−xx−9609

                         First Name   Middle Name   Last Name                                 EIN   _ _−_ _ _ _ _ _ _
Debtor 2                                                                                      Social Security number or ITIN _ _ _ _
(Spouse, if filing)      First Name   Middle Name   Last Name
                                                                                              EIN   _ _−_ _ _ _ _ _ _
United States Bankruptcy Court        District of Massachusetts
                                                                                              Date case filed for chapter 13 3/28/19
Case number:          19−30240



Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                            12/17


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read all pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in
effect, creditors cannot sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors.
Creditors cannot demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required
to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not
exist at all, although debtors can ask the court to extend or impose a stay.

Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge
under 11 U.S.C. § 1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified
in this notice. Creditors who want to have their debt excepted from discharge may be required to file a complaint in the
bankruptcy clerk's office by the same deadline. (See line 8 for more information.)

To protect your rights, you may wish to consult an attorney. All documents filed in the case may be inspected at the
bankruptcy clerk's office at the address listed below or through PACER (Public Access to Court Electronic Records at
www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other document in the case. Do not include more than the last four
digits of a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that
you file with the court.

                                              About Debtor 1:                                            About Debtor 2:
1. Debtor's full name                         Elizabeth Cordero

2. All other names used in the
   last 8 years
                                              99 Lakevilla Ave.
3. Address                                    Springfield, MA 01109
                                              Carrie Naatz                                              Contact phone 413−336−8300
                                              Naatz Law Office
4. Debtor's  attorney
   Name and address
                                              1111 Elm St.                                              Email: NaatzLaw@comcast.net
                                              Suite 28
                                              West Springfield, MA 01089

5. Bankruptcy trustee                         Denise M. Pappalardo                                       Contact phone 508−791−3300
     Name and address                         P. O. Box 16607
                                              Worcester, MA 01601

6. Bankruptcy clerk's office                                                                             Hours open Monday−Friday 8:30am−5:00pm
     Documents in this case may be filed      U.S. Bankruptcy Court                                      Contact phone 413−785−6900
     at this address.                         300 State Street, Suite 220                                Date: 4/1/19
     You may inspect all records filed in     Springfield, MA 01105
     this case at this office or online at
      www.pacer.gov.
                                                                                                              For more information, see page 2

Official Form 309I                                     Notice of Chapter 13 Bankruptcy Case                                            page 1
           Case 19-30240              Doc 12           Filed 04/01/19 Entered 04/01/19 06:20:30                                      Desc Ch 13
                                                           First Mtg Page 2 of 3
Debtor Elizabeth Cordero                                                                                                          Case number 19−30240 − edk

7. Meeting of creditors
    Debtors must attend the meeting to     April 24, 2019 at 03:00 PM                                         Location:
    be questioned under oath. In a joint                                                                     1350 Main Street, Suite 1112, Springfield, MA
    case, both spouses must attend.                                                                          01103
    Creditors may attend, but are not      The meeting may be continued or adjourned to a later
    required to do so.                     date. If so, the date will be on the court docket.
8. Deadlines                               Deadline to file a complaint to challenge                                Filing deadline: 6/24/19
   Papers and any required fee must        dischargeability of certain debts:
   be received by the bankruptcy
   clerk's office no later than 4:30 PM
   (Eastern Time) by the deadlines         You must file:
   listed.                                 • a motion if you assert that the debtors are
                                              not entitled to receive a discharge under
                                              U.S.C. § 1328(f), or
                                           • a complaint if you want to have a particular
                                              debt excepted from discharge under
                                              11 U.S.C. § 523(a)(2) or (4).
                                           Deadline for all creditors to file a proof of claim                      Filing deadline: 6/6/19
                                           (except governmental units):
                                           Deadline for governmental units to file a proof of                       Filing deadline: 9/24/19
                                           claim:


                                           Deadlines for filing proof of claim:
                                           A proof of claim is a signed statement describing a creditor's claim. A proof of claim form (Official Form 410)
                                           may be obtained at www.uscourts.gov or any bankruptcy clerk's office or printed from the Court's website at
                                           www.mab.uscourts.gov/mab/creditorinformation. You may also file your claim electronically through the court's
                                           website at www.mab.uscourts.gov.

                                                    • If you do not file a proof of claim by the deadline listed, you might not be paid any money on your
                                                      claim.
                                                    • To be paid, you must file a proof of claim even if your claim is listed in the schedules that the
                                                      debtor filed.

                                           Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                           claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
                                           For example, a secured creditor who files a proof of claim may surrender important nonmonetary rights,
                                           including the right to a jury trial.


                                           Deadline for filing surrogate proofs of claim by the                      Filing deadline:    30 days after the
                                           debtor or trustee under Fed. R. Bankr. P. 3004:                                               applicable bar date or
                                                                                                                                         as extended by the
                                           In the event a creditor does not timely file a proof of claim, a                              Court
                                           surrogate claim is not timely filed, or a claim is not allowed by the
                                           Court, the creditor may not receive distribution under the Chapter
                                           13 plan.


                                           Deadline to object to exemptions:                                         Filing deadline:    30 days after the
                                                                                                                                         conclusion of the
                                            The law permits debtors to keep certain property as exempt. If you                           meeting of creditors
                                           believe that the law does not authorize an exemption claimed, you
                                           may file an objection.

9. Deadline to file §503(b)(9)             Requests under Bankruptcy Code §503(b)(9)(goods sold within               Filing deadline:    60 days from the first
   requests                                twenty(20) days of bankruptcy) must be filed in the bankruptcy                                date set for the
                                           clerk's office.                                                                               meeting of creditors

10. Filing of plan                         The debtor has filed a plan.

                                           Pursuant to Massachusetts Local Bankruptcy Rule 13−8(a), unless otherwise ordered by the Court, any
                                           objection to confirmation of a chapter 13 plan shall be filed on or before the later of (i) thirty (30) days
                                           after the date on which the first section 341 meeting is held or (ii) thirty (30) days after service of an
                                           amended or modified plan. If an objection to a plan is filed, the Court may schedule a hearing.
11. Creditors with a foreign               If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                           any questions about your rights in this case.
12. Filing a chapter 13                    Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                        according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                           plan and appear at the confirmation hearing. A copy of the plan, [is included with this notice] or [will be sent to
                                           you later], and [the confirmation hearing will be held on the date shown in line 10 of this notice] or [the court will
                                           send you a notice of the confirmation hearing]. The debtor will remain in possession of the property and may
                                           continue to operate the business, if any, unless the court orders otherwise.
                                                                                                                     For more information, see page 3


Official Form 309I                                    Notice of Chapter 13 Bankruptcy Case                                                     page 2
           Case 19-30240    Doc 12         Filed 04/01/19 Entered 04/01/19 06:20:30                                    Desc Ch 13
                                               First Mtg Page 3 of 3
Debtor Elizabeth Cordero                                                                                             Case number 19−30240 − edk

13. Exempt property             The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as
                                exempt. You may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe that
                                the law does not authorize an exemption that debtors claimed, you may file an objection by the deadline.
14. Discharge of debts          Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                are made. A discharge means that creditors may never try to collect the debt from the debtors personally except
                                as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline.
                                If you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f), you
                                must file a motion by the deadline.
15. Financial Management        Deadline for debtor to attend a financial managment training program approved by the United States
    Training Program Deadline   Trustee: Sixty (60) days from the first date set for the meeting of creditors. The discharge will not enter if
                                the debtor fails to attend a financial management−training program approved by the United States Trustee or if
    for the Debtor              the debtor attends such training and fails to file a certificate of completion with the U.S. Bankruptcy Court. The
                                training is in addition to the pre−bankruptcy counseling requirement. A list of approved courses may be obtained
                                from the United States Trustee or from the court's website at www.mab.uscourts.gov.
16. Abandonment of Estate       Notice is hereby given that any creditor or other interested party who wishes to receive notice of the estate
    Property                    representative's intention to abandon property of the estate pursuant to 11 U.S.C. §554(a) must file with the
                                Court and serve upon the estate representative and the United States trustee a written request for such notice
                                within fourteen (14) days from the date first scheduled for the meeting of creditors.




Official Form 309I                        Notice of Chapter 13 Bankruptcy Case                                                   page 3
